Case 2:09-cv-11140-RHC-MJH ECF No.1 filed 03/26/09 PagelID.1 Pageiof5

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA § Claim No: 2009A14415
§

VS. §
§

Youssef A. Bakri

 

COMPLAINT

 

 

 

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

The United States of America, plaintiff, alleges that:

Jurisdiction

1. This Court has jurisdiction over the subject matter of this action pursuant to Article II],

Section 2, U.S. Constitution and 28 U.S.C. § 1345.
Venue

2. The defendant is a resident of Wayne County, Michigan within the jurisdiction of this

Court and may be served with service of process at 7855 Ternes, Dearborn, Michigan 48126.
The Debt

3. The debt owed the USA is as follows:

A. Current Principal (after application of all $6,397.65
prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and $3,933.06

Accrued Interest

C. Administrative Fee, Costs, Penalties $0.00

D. Credits previously applied (Debtor payments, $0.00
credits, and offsets)

E. Attorneys fees $0.00

Total Owed $10,330.71

The Certificate of Indebtedness, attached as Exhibit A", shows the total owed excluding
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attorney's fees and CIF charges. The principal balance and the interest balance shown on the
Certificate of Indebtedness is correct as of the date of the Certificate of Indebtedness after
application of all prior payments, credits, and offsets. Prejudgment interest accrues at the rate of
8.000% per annum.
Failure to Pay

4, Demand has been made upon the defendant for payment of the indebtedness, and the
defendant has neglected and refused to pay the same.

WHEREFORE, USA prays for judgment:

A. For the sums set forth in paragraph 3 above, plus prejudgment interest through

the date of judgment, all administrative costs allowed by law, and post-judgment interest

pursuant to 28 U.S.C. § 1961 that interest on the judgment be at the legal rate until paid in full;

B. For attorneys’ fees to the extent allowed by law; and,

C. For such other relief which the Court deems proper.

Respectfully submitted,

By: s/Pamela S. Ritter
PAMELA S. RITTER (P47886)
Attorneys for Plaintiff
28366 Franklin Road
Southfield, MI 48034
Tel. (248) 352-4340
Fax. (248) 352-3258
usa@holzmanlaw.com
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U.S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS #1 OF 1

Youssef A. Bakri

aka: N/A

26344 Lawrence Dr
Dearborn Heights, MI 48127
Account No. X 7

I certify that U.S. Department of Education records show that the borrower named above is indebted to the
United States in the amount stated below plus additional interest from 10/22/2008.

On or about 09/12/1991 & 03/07/1992, the borrower executed promissory note(s) to secure loan(s) of
$4,000.00 & $4,000.00 from National City Bank, East Lansing Michigan. This loan was disbursed for
$4,000.00 & $3,888.00 on 01/07/1992 & 07/06/1992, at 8% interest, rising to 10% after the fourth year of
repayment. Pursuant to 20 U.S.C. § 1077a(i)(7), the holder converted the interest rate to a variable rate, not
to exceed, currently, 10%. This loan obligation was guaranteed by Great Lakes Higher Education
Corporation, and then reinsured by the Department of Education under loan guaranty programs authorized
under Title IV-B of the Higher Education Act of 1965, as amended, 20 U.S.C. 1071 et seq. (34 C.F.R. Part
682). The holder demanded payment according to the terms of the note, and credited $265.98 & $258.53 to
. the outstanding principal owed on.the loan. The borrower defaulted on the obligation on 12/27/1996, and
the holder filed a claim on the loan guarantee.

Due to this default, the guaranty agency paid a claim in the amount of $3,244.24 & $3,153.41 to the holder.
The guarantor was then reimbursed for that claim payment by the Department under its reinsurance
agreement. Pursuant to 34 C.F.R. § 682.410(b)(4), once the guarantor pays on a default claim, the entire
amount paid becomes due to the guarantor as principal. The guarantor attempted to collect this debt from
the borrower. The guarantor was unable to collect the full amount due, and on 07/13/2001, assigned its
right and title to the loan to the Department.

Since assignment of the loan, the Department has credited a total of $0 in payments from all sources,
including Treasury Department offsets, if any, to the balance. After application of these payments, the
borrower now owes the United States the following:

Principal: $ 6,397.65
Interest: $ 3,793.05
Total debt as of 10/22/2008: $10,190.70

Interest accrues on the principal shown here at the current rate of 5.16 percent and a daily rate of $0.46 &
$0.44 through June 30, 2009, and thereafter at such rate as the Department establishes pursuant to section
427A of the Higher Education Act of 1965, as amended, 20 U.S.C. 1077a.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and correct.

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Loan Analyst
Litigation Support

 

 
 

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